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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA,
                                                    APPLICATION AND ORDER
         -against-                                  OF EXCLUDABLE DELAY



                 Defendant.
– – – – – – – – – – – – – – – – – –X

       The United States of America and the defendant
hereby jointly request that the time period from                  to
be excluded in computing the time within which an information or indictment must be filed.
The parties seek the foregoing exclusion of time in order because
               they are engaged in plea negotiations, which they believe are likely to result in
a disposition of this case without trial, and they require an exclusion of time in order to focus
efforts on plea negotiations without the risk that they would not, despite their diligence, have
reasonable time for effective preparation for trial,
              they need additional time to investigate and prepare for trial due to the
complexity of the case,
              other:
      This is the second     application for entry of an order of excludable delay. The
defendant was arrested on         1/11/2025        and released on       1/13/2025     .

____________________________                        Todd Leventhal
                                                    ______________________________

Assistant U.S. Attorney                             Counsel for Defendant




For defendant to read, review with counsel, and acknowledge:
       I understand that federal law generally provides that I have a right to have formal
charges lodged against me within thirty days of my arrest and a right to a trial on those
charges within seventy days after formal charges have been lodged. I further understand that
I do not have to consent to the exclusion of time sought in this application and that, by
consenting to entry of this order, the date on which formal charges must be lodged will be
delayed and the date for the commencement of any trial on those charges will likely be
delayed as well. I also understand that if formal charges are not brought against me within
the time required by law, I may seek relief from the court, and that this relief might include
dismissal of the complaint now pending against me.
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        I have reviewed this application, as well as the order annexed below, and have
 discussed the question of whether I should consent to entry of an order of excludable delay
 carefully with my attorney. I consent to the entry of the order voluntarily and of my own
 free will. I have not been threatened or coerced for my consent.
03/26/2025                                   Shane Hennen
 _______________                             ________________________________________
 Date
                                             Defendant

 For Defendant’s Counsel to read and acknowledge:
         I certify that I have reviewed this application and the attached order carefully with my
 client. I further certify that I have discussed with my client a defendant’s right to speedy
 indictment and the question of whether to consent to entry of an order of excludable delay. I
 am satisfied that my client understands the contents of this application and the attached
 order, that my client consents to the entry of the order voluntarily and of his or her own free
 will, and that my client has not been threatened or coerced for consent.
                                                 Todd Leventhal
                                               ________________________________________

                                             Counsel for Defendant

                            ORDER OF EXCLUDABLE DELAY

        Upon the joint application of the United States of America and defendant,
                               , and with the express written consent of the defendant, the time
 period                        to                    is hereby excluded in computing the time
 within which an information or indictment must be filed, as the Court finds that this
 exclusion of time serves the ends of justice and outweighs the best interests of the public and
 the defendant in a speedy trial because

                 given the reasonable likelihood that ongoing plea negotiations will result in a
 disposition of this case without trial, the exclusion of time will allow all counsel to focus
 their efforts on plea negotiations without the risk that they would be denied the reasonable
 time necessary for effective preparation for trial, taking into account the exercise of due
 diligence.

               additional time is needed to prepare for trial due to the complexity of case.

               other: ________________________________________________________

 SO ORDERED.

 Dated:                                      _____________________________________
          March 26
                                             United States Magistrate Judge
